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                                           b FRONTLINE DOCTORS
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                                                                                          November 7. 2022

  Evan Landau
  121 Covington Cove
  Georgetown TX 78628

  Re: Termination of Services



  Dear Mr. Landau,

  Thank you for your past service to AFLDS. The organization is moving in a different direction, and
  those services arc no longer required. Effective immediately, any and all professional engagement
  with AFLDS is now terminated.

  Please be advised, you (and any entity you manage or own) no longer have authorization to act on
  behalf of AFLDS in any capacity, nor present yourself to anyone as a representative of AFLDS in
  any way. Furthermore, you no longer have authorization to use. send, post, share, or otherwise access
  any AFLDS content, materials, or any other property belonging to AFLDS, and any further actions
  presuming such authority will be prosecuted to fullest extent of the law'. This includes any social
  media profiles affiliated with AFLDS. such as The Actual Factual; please provide those credentials
  to AFLDS Social Media Director Michael Coudrey. If you currently have possession of any physical
  AFLDS property, please make arrangements without delay to return it to AJ Andrzejewski.




  Sincerely,
   bene
  Dr. Simone Gold
  President and Board Chairman
  Free Speech Foundation




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